             Case MDL No. 2949 Document 163 Filed 10/16/20 Page 1 of 1



                BEFORE THE UNITED STATES JUDICIAL PANEL
                       ON MULTIDISTRICT LITIGATION
_________________________________________
                                          )
IN RE: PROFEMUR HIP IMPLAINT              )
PRODUCT LIABILITY                         ) MDL NO. 2949
LITIGATION                                )
_________________________________________ )


                                AMENDED PROOF OF SERVICE


       In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial Panel

on Multidistrict Litigation, I, Frank V. Cesarone, hereby certify that copies of the foregoing Notice

of Related Actions and Schedule of Actions were served on all parties in the following cases

electronically via ECF, or as indicated below, on October 16, 2020.

Daniel Hamilton v. Wright Medical Technology, Inc., et al. 1:20-cv-06060 (ND Il.)

Jeffery Gerardot v. Wright Medical Technology, Inc., et al. 1:20-cv-00359 (ND In.)



 Mr. Robert T. Dassow, Esq.                        Wright Medical Technology, Inc.
 Hovde, Dassow & Deets, LLC                        1023 Cherry Road
 10201 N. Illinois Street, Suite 500               Memphis, TN 38117-5423
 Indianapolis, IN 46290                            Defendant
 Counsel for Plaintiff, Jeffery Gerardot

Wright Medical Group, Inc.                         Wright Medical Group, N.V.
1209 Orange Street                                 1023 Cherry Road
Wilmington, Delaware 19801                         Memphis, TN 38117
Defendant                                          Defendant


Respectfully Submitted,

                                                              /s/ Frank V. Cesarone
Dated: October 16, 2020                                       Frank V. Cesarone
                                                              Meyers & Flowers, LLC
                                                              3 N Second St., Suite 300
                                                              St. Charles, IL 60174
                                                              Tel: (630) 232-6333
                                                              Fax: (630) 845-8982
                                                              fvc@meyers-flowers.com
                                                              Attorney for Plaintiffs,
                                                              Jeffery Gerardot & Daniel
                                                              Hamilton
